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           VED         jUDGE    FNK MONTALVC
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION                                                n 5     I




                                                §


   4(KUMAR                                      §           CIVIL No.


                                            ORDER

        The Court, having considered the United States' Ex Parte Motion for Order to Seal in the

above entitled and numbered cause, finds the following:

        "There is a general, common law right to inspect and copy public records and documents,

including judicial records and documents, but this right is not absolute." United States   v.   Sealed

Search Warrants, 868 F.3d 385, 391 (5th Cir. 2017) (citing Nixon v. Warner Commc'ns, 435 U.S.

589, 597-99 (1978). In the instant matter, the Court has balanced that right against the interests

favoring nondisclosure-specifically regulations requiring the protection of the personal privacy of

individuals.

       Therefore, it is ORDERED that the United States' Motion should be and is hereby

GRANTED.

       FURTHER, it is ORDERED that the United States District Clerk shall seal from public

scrutiny the United States' Emergency Ex Parte Motion for Order of Authorization to Provide

Non-Consensual Medical Examination and Non-Consensual Hydration and Order.

       SO ORDERED.

       SIGNED on this the        lay of



                                                               STATES DISTRICT JUDGE
